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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,               :   CIVIL ACTION NO. 1:16-CV-2145
                 Plaintiffs                 :
                                            :   (Chief Judge Conner)
             v.                             :
                                            :
THE MILTON HERSHEY SCHOOL                   :
AND SCHOOL TRUST, et al.,                   :
                  Defendants                :

                                        ORDER

      AND NOW, this 15th day of May, 2018, upon consideration of the parties’

proposed stipulation (Doc. 145) to modify the pretrial and trial schedule, it is hereby

ORDERED that said stipulation is APPROVED, to the extent that the following

pretrial and trial schedule shall apply to this case:

      Jury Selection/Trial Date                         December 3, 2018 at 9:30 a.m.
      Dispositive Motions & Supporting Briefs           June 15, 2018
      Motions in Limine & Supporting Briefs             September 14, 2018
      Final Pretrial Conference                         November 13, 2018 at 1:30 p.m.
      Pretrial Memoranda                                November 6, 2018 by 12:00 p.m.
      Plaintiffs’ Expert Report(s)                      May 31, 2018
      Defendants’ Expert Report(s)                      July 2, 2018
      Supplemental/Rebuttal Expert Report(s)            July 20, 2018
      Proposed Voir Dire Questions                      November 13, 2018
      Proposed Jury Instructions                        November 13, 2018

      All other instructions and guidelines set forth in the court’s original case

management order (Doc. 41), dated November 23, 2016, shall remain in full force

and effect except as modified herein.

                                            /S/ CHRISTOPHER C. CONNER
                                            Christopher C. Conner, Chief Judge
                                            United States District Court
                                            Middle District of Pennsylvania
